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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        Case No. 21-cv-22437-BLOOM/OTAZO-REYES

  MICHAEL PEARSON, et al.,

         Plaintiffs,

  vs.

  DEUTSCHE BANK AG, et al.,

        Defendants.
  ________________________________/

                                              ORDER

         THIS CAUSE came before the Court on Plaintiffs Michael Pearson, Andrew Childe, and

  Anna Silver’s (“Plaintiffs”) Notice of Hearing [D.E. 101]. This matter was referred to the

  undersigned pursuant to 28 U.S.C. § 636 by the Honorable Beth Bloom, United States District

  Judge [D.E. 39]. The undersigned held a hearing on this matter on July 19, 2022 (hereafter,

  “Hearing”).

         In accordance with the undersigned’s rulings at the Hearing, it is

         ORDERED AND ADJUDGED as follows:

         1.      With respect to Item 1 in the Notice of Hearing, Defendants Deutsche Bank AG,

  Deutsche Bank Luxembourg S.A., Deutsche Bank (Suisse) SA, and Deutsche Bank Trust

  Companies Americas (“Defendants”) SHALL CONTINUE to produce documents on a rolling

  basis with production to be completed by the end of August. Defendants shall prioritize their

  production of documents as follows: documents that are pertinent to the custodians who are being

  deposed on August 3 and 8, 2022, shall be produced by August 1, 2022; and documents that are

  pertinent to other custodians whose depositions may be scheduled during the month of August

  shall be produced ahead of those depositions.
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         2.     With respect to Item 2 in the Notice of Hearing, Defendants SHALL COMPLETE

  their responses to Plaintiffs’ jurisdictional discovery requests in compliance with applicable

  foreign data privacy and bank secrecy laws by the end of August.

         DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of July, 2022.


                                             ___________________________________
                                             ALICIA M. OTAZO-REYES
                                             UNITED STATES MAGISTRATE JUDGE


  cc:    United States District Judge Beth Bloom
         Counsel of Record




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